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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                          3:00cr48/LAC
                                                             3:05cv136/LAC/MD

THOMAS L. McCRIMMON,


                                REPORT AND RECOMMENDATION

        This cause is before the court upon defendant’s letter to the clerk of court in which
he indicates his request to withdraw his motion for habeas relief under 28 U.S.C. § 2255.
(Doc. 1268). Defendant indicates that he submits this withdrawal request on his own
accord, free from promises or threats of any kind, therefore his request should be granted.
        Accordingly, it is respectfully RECOMMENDED:
        Defendant’s motion to dismiss his § 2255 motion (doc. 1268) be granted and this
case be dismissed without prejudice.
        At Pensacola, Florida, this 11th day of May, 2005.



                                                /s/   Miles Davis
                                                      MILES DAVIS
                                                      UNITED STATES MAGISTRATE JUDGE


                                         NOTICE TO T HE PARTIES

Any objections to these proposed findings and recomm endation s m ust be filed within ten days after being
served a copy thereof. A copy of objections shall be served upon the magistrate judge and all other parties.
Failure to object m ay limit the sc ope of ap pellate review of factua l findings . See 28 U.S .C. § 6 36; United
State s v. R obe rts, 858 F.2d 698 , 701 (11th Cir. 1988).
